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                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

             JENNIFER SMITH,
                              Plaintiff,


             v.                                                     Case No: 6:24-cv-457-PGB-RMN


             THE FLORIDA AGRICULTURAL &
             MECHANICAL UNIVERSITY
             BOARD OF TRUSTEES,
                              Defendant.
             ______________________________________/
                            DECLARATION OF PROVOST ALLYSON WATSON

                     1.       My name is Dr. Allyson Watson and I am over the age of eighteen (18)

             years of age and competent to make this Declaration upon my own personal

             knowledge and belief.

                     2.       I serve as Provost and Vice President for Academic Affairs for the

             Florida Agricultural and Mechanical University (FAMU).

                     3.       Jennifer Smith was employed as a visiting professor for the College of

             Law on August 8, 2004.

                     4.       I received the Office of Compliance and Ethics’ Investigative Reports

             2022-11-117 and Supplemental Report 2022-11-117 regarding Jennifer Smith’s

             retaliatory conduct toward a student and inappropriate and unprofessional conduct
                                                      Page 1 of 3
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             towards students. The Reports sustained some of these allegations against Ms.

             Smith. A true and correct copy of the Reports are attached to the Notice of Intent to

             Dismiss from Employment, which is hereto as Exhibit 1.

                     5.       My decision to termination Ms. Smith’s employment was based on her

             unprofessional and inappropriate behavior towards students as articulated in the

             Investigative Reports.

                     6.       On December 5, 2023, I sent a Notice of Intent to Dismiss from

             Employment to Ms. Smith, which advised her of her rights and process under

             University Regulation 10.120. A true and correct copy of the Notice and the

             attachments to that Notice, attached hereto as Exhibit 1.

                     7.       Ms. Smith convened a panel on January 11, 2024 that recommended I

             rescind my Notice of Intent to Dismiss, however given the gravity of the situation, I

             declined to take their recommendation and moved forward with issuing a Notice of

             Dismissal from Employment.

                     8.       The Notice of Dismissal of Employment was issued on January 23,

             2024 and sent to Ms. Smith via email and certified mail, return receipt requested. A

             true and correct copy of the Notice of Dismissal is attached hereto as Exhibit 2.

                     9.       As stated in this Notice, Smith’s employment with FAMU ended at the

             close of business on Tuesday, January 30, 2023.


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                                                      VERIFICATION

                     I verify under penalty of perjury that the foregoing is true and correct.

                                                      Executed on March __,
                                                                        25 2024.


                                                      Allyson Watson, Ph.D.
                                                      Provost and Vice President for Academic Affairs
                                                      Florida A&M University




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